                  Case 2:18-cv-02421-JFW-E Document 156 Filed 07/17/18 Page 1 of 5 Page ID #:2785




                     1 BOIES SCHILLER FLEXNER LLP
                       David K. Willingham (State Bar No. 198874)
                     2  dwillingham@bsfllp.com
                       725 South Figueroa Street, Floor 31
                     3 Los Angeles, California 90017-5524
                       Phone: (213) 629-9040
                     4 Fax: (213) 629-9022
                     5 Lee S. Wolosky (pro hac vice)
                        lwolosky@bsfllp.com
                     6 Robert J. Dwyer (pro hac vice)
                        rdwyer@bsfllp.com
                     7 575 Lexington Ave., Floor 7
L L P




                       New York, NY 10022-6138
                     8 Phone: (212) 446-2300
                       Fax: (212) 446-2350
F L E X N E R




                     9
                       Amy L. Neuhardt (pro hac vice)
                    10  aneuhardt@bsfllp.com
                       1401 New York Avenue, NW
                    11 Washington, DC 20005-2102
                       Phone: (202) 237-2727
S C H I L L E R




                    12 Fax: (202) 237-6131
                    13
                    14 Counsel for Plaintiffs
                    15                      UNITED STATES DISTRICT COURT
B O I E S




                                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    16
                    17 BROIDY CAPITAL MANAGEMENT                         Case No. 18-cv-02421-JFW
                       LLC and ELLIOTT BROIDY,
                    18                                                   PLAINTIFFS’ RESPONSE TO
                                 Plaintiffs,                             DEFENDANT STATE OF QATAR’S
                    19                                                   OBJECTIONS TO THE
                                                                         DECLARATION OF LEE S.
                    20             v.                                    WOLOSKY
                    21                                                   [Response to Objections to the
                         STATE OF QATAR, STONINGTON                      Declaration of Joshua N. Friedman
                    22   STRATEGIES LLC, NICOLAS D.                      filed concurrently herewith]
                         MUZIN, GLOBAL RISK ADVISORS
                    23   LLC, KEVIN CHALKER, DAVID                       The Honorable John F. Walter
                         MARK POWELL, MOHAMMED BIN
                    24   HAMAD BIN KHALIFA AL THANI,                     Hearing Date: July 30, 2018
                         AHMED AL-RUMAIHI, and DOES 1-                   Time: 1:30 p.m.
                    25   10,                                             Ctrm.: 7A
                    26                      Defendants.
                    27
                    28   4844-3609-4317.1
                                                                                             Case No. 18-cv-02421-JFW
                                PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION
                         TO t
                                                                                                OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 156 Filed 07/17/18 Page 2 of 5 Page ID #:2786




                     1              Plaintiffs Broidy Capital Management LLC and Elliott Broidy (“Plaintiffs”),
                     2 hereby submit this response to Defendant State of Qatar’s (“Qatar”) Objections to the
                     3 Declaration of Lee S. Wolosky in Support of Plaintiffs’ Opposition to Qatar’s Motion
                     4 to Dismiss (ECF No. 154) (“Objections”), and, for the reasons set forth below,
                     5 respectfully request that the relief requested in Qatar’s Objections be denied.
                     6              First, Qatar’s Objections are an improper motion to strike. (See, e.g., ECF No.
                     7 154 at 1 (“[Qatar] respectfully requests that the declaration and attached exhibits be
L L P




                     8 stricken entirely from the record.”), 2 (“For these reasons, Qatar respectfully requests
F L E X N E R




                     9 that the Court strike the entirety of the Wolosky Declaration and the attached
                   10 exhibits.”).) However, despite clearly moving to strike a filing, Qatar failed to follow
                   11 the procedural rules governing such a motion, including, but not limited to, the meet-
S C H I L L E R




                   12 and-confer process outlined by Local Rule 7-3 and Paragraph 5(b) of this Court’s
                   13 Standing Order, ECF No. 17. For this reason alone, the Court should reject, and
                   14 strike, Qatar’s “Objections.” See Local Rule 7-4 (“The Court may decline to consider
                   15 a motion unless it meets the requirements of L.R. 7-3 through 7-8.”); see also
B O I E S




                   16 Standing Order, ECF No. 17 ¶ 5(a) (“Motions shall be filed in accordance with the
                   17 Local Rules. … Documents not filed in compliance with the Court’s requirements will
                   18 be stricken and will not be considered by the Court.”), ¶ 5(b) (“Many motions to
                   19 dismiss or to strike could be avoided if the parties confer in good faith. … Failure to
                   20 strictly comply with the Court’s requirements or Local Rule 7-3 will result in the
                   21 striking and/or the denial of the motion.”); cf. Shapiro v. Hasbro, Inc., No. CV 15-
                   22 02964-BRO (AJWx), 2015 WL 13357442, at *5 (C.D. Cal. Sept. 24, 2015) (defendant
                   23 filed an ex parte application to strike or disregard declarations and evidence submitted
                   24 in connection with plaintiff’s reply in support of motion for preliminary injunction).
                   25               Second, Qatar’s “Objections” largely rely on an entirely mistaken premise—that
                   26 the Declaration of Lee S. Wolosky (“Wolosky Declaration”) and the attached exhibits
                   27 were submitted to aid the Court in deciding the merits of Qatar’s motion to dismiss
                   28
                         4844-3609-4317.1                           -1-                       Case No. 18-cv-02421-JFW
                              PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF
                                                                                                    LEE S. WOLOSKY
                         TO
                  Case 2:18-cv-02421-JFW-E Document 156 Filed 07/17/18 Page 3 of 5 Page ID #:2787




                     1 and that, because Qatar mounted a facial challenge, consideration of the Wolosky
                     2 Declaration and attached exhibits is inappropriate. (ECF No. 154 at 1.) However, as
                     3 Plaintiffs made clear in their Opposition to Qatar’s Motion to Dismiss, Plaintiffs
                     4 “contend that the allegations of the FAC are sufficient to defeat [Qatar’s] motion,” but
                     5 “include[d] examples herein of where discovery to date has supported the allegations
                     6 of the FAC, to demonstrate that at a minimum, jurisdictional discovery, and/or leave
                     7 to amend the FAC, is appropriate.” (ECF No. 133 at 3 n.2.)
L L P




                     8              When Plaintiffs seek to demonstrate that jurisdictional discovery is warranted,
F L E X N E R




                     9 declarations are appropriate. See Greenpeace, Inc. (U.S.A.) v. State of France, 946 F.
                   10 Supp. 773, 779-80 (C.D. Cal. 1996) (where defendants moved to dismiss, the Court
                   11 was inclined to dismiss because plaintiffs “had not presented ‘sufficient evidence to
S C H I L L E R




                   12 meet any of the exceptions to … the Foreign Sovereign Immunities Act,” but “counsel
                   13 for [p]laintiffs [later] indicated that they possessed and were willing to produce
                   14 evidence of jurisdictional facts,” such that the Court permitted plaintiffs “to submit
                   15 additional briefing and affidavits to establish sufficient facts to support either the
B O I E S




                   16 Court’s exercise of jurisdiction over this case or an order permitting Plaintiffs to
                   17 conduct discovery toward that end” (emphasis added)).
                   18               The Wolosky Declaration and attached exhibits are also appropriate to support a
                   19 request to amend. See Andrews v. Slawinski, No. CV 10-05850-MWF (VBK), 2012
                   20 WL 12878653, at *1, *3 (C.D. Cal. May 17, 2012) (plaintiffs filed declaration in
                   21 support of motion to amend that was inadequate).
                   22               In any event, the cases that Qatar cites to demonstrate that declarations cannot
                   23 be considered when a defendant mounts a facial attack do not support Qatar’s
                   24 conclusions. Rather, the cited case law merely outlines the standards governing facial
                   25 and factual attacks brought in motions to dismiss under Federal Rule of Civil
                   26 Procedure 12(b)(1). See Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir.
                   27 2012) (explaining that in a facial attack “we treat the challenge as ‘any other motion to
                   28
                         4844-3609-4317.1                           -2-                       Case No. 18-cv-02421-JFW
                              PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF
                                                                                                    LEE S. WOLOSKY
                         TO
                  Case 2:18-cv-02421-JFW-E Document 156 Filed 07/17/18 Page 4 of 5 Page ID #:2788




                     1 dismiss on the pleadings for lack of jurisdiction’” (citations omitted)); Doe v. Holy
                     2 See, 557 F.3d 1066, 1073 (9th Cir. 2009) (explaining the standard where defendant
                     3 mounts a facial attack); Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.
                     4 2004) (outlining standard for facial and factual attacks); Osborn v. United States, 918
                     5 F.2d 724, 729 & n.6 (8th Cir. 1990) (distinguishing the process for reviewing motions
                     6 to dismiss under Rule 12(b)(1) and motions for summary judgment under Rule 56).1
                     7             The cases do not prescribe limits on plaintiffs. In fact, the standards applied
L L P




                     8 when a defendant mounts a facial versus a factual attack are crafted so as to be fair to
F L E X N E R




                     9 plaintiffs, not to protect defendants or prevent plaintiffs from showing that subject
                   10 matter jurisdiction exists. See Osborn, 918 F.2d at 729 n.6. In the context of a facial
                   11 attack, “the non-moving party receives the same protections as it would defending
S C H I L L E R




                   12 against a motion brought under Rule 12(b)(6).” Id. (emphasis added). This means
                   13 complaints “should not be dismissed unless it appears beyond doubt that the plaintiff
                   14 can prove no set of facts in support of his claim which would entitle him to relief.” Id.
                   15 (citations and internal quotation marks omitted); cf. Wolfe v. Strankman, 392 F.3d
B O I E S




                   16 358, 362 (9th Cir. 2004) (plaintiff “was not required to provide evidence outside the
                   17 pleadings, because the defendants ha[d] made a facial rather than a factual attack on
                   18 subject matter jurisdiction” (emphasis added)). For all of these reasons, the Court
                   19 must deny Qatar’s request to strike the Wolosky Declaration and attached exhibits.
                   20              Finally, Qatar argues that the exhibits attached to the Wolosky Declaration are
                   21 “entirely irrelevant” because Plaintiffs’ Opposition “barely mentions the Wolosky
                   22 Declaration.” (ECF No. 154 at 2.) However, as Qatar recognizes (see id. at 1 n.1), the
                   23
                         1
                   24      Qatar also cites Lauwrier v. Garcia, No. CV 12-007381 MMM (SHx), 2013 WL
                         11238497, at *2 (C.D. Cal. Mar. 8, 2013) for the proposition that “[t]he only
                   25    documents outside of the pleadings that the Court may consider in deciding a facial
                   26    attack are those that would be proper subjects of judicial notice.” (ECF No. 154 at 1
                         n.2.) However, Lauwrier states only that “[e]ven when deciding a facial attack … a
                   27    court can look beyond the complaint to consider documents that are proper subjects of
                   28    judicial notice.” Lauwrier, 2013 WL 11238497, at *2 (emphasis added).
                         4844-3609-4317.1                       -3-                         Case No. 18-cv-02421-JFW
                              PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF
                                                                                                    LEE S. WOLOSKY
                         TO
                  Case 2:18-cv-02421-JFW-E Document 156 Filed 07/17/18 Page 5 of 5 Page ID #:2789




                     1 exhibits attached to the Wolosky Declaration were filed under seal. Consequently,
                     2 Plaintiffs could not discuss those exhibits in their publicly filed Opposition.
                     3 Moreover, other than attesting to proper service, the Wolosky Declaration only
                     4 introduced the sealed exhibits. Therefore, Qatar’s argument lacks merit.
                     5              For these reasons, Plaintiffs respectfully request that this Court deny Qatar’s
                     6 request that the Court strike the entirety of the Wolosky Declaration and attached
                     7 exhibits.
L L P




                     8
F L E X N E R




                     9                                          Respectfully submitted,
                   10
                         Dated: July 17, 2018                   BOIES SCHILLER FLEXNER LLP
                   11                                           By:    /s/ Lee S. Wolosky
S C H I L L E R




                   12
                                                                       LEE S. WOLOSKY
                   13                                                  Counsel for Plaintiffs
                   14
                   15
B O I E S




                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
                         4844-3609-4317.1                             -4-                     Case No. 18-cv-02421-JFW
                              PLAINTIFFS’ RESPONSE TO DEFENDANT STATE OF QATAR’S OBJECTIONS TO THE DECLARATION OF
                                                                                                    LEE S. WOLOSKY
                         TO
